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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
        v.                                    )   CASE NO. 5:24-CR-48 (MTT)
                                              )
 JAMES FRANK AUSTIN, JR. and                  )
 ROSALEND WAY,                                )
                                              )
                         Defendants.          )
                                              )

                                         ORDER

      The defendants, by and through their attorneys, have jointly moved to continue

this case until the next trial term. Doc. 52. The government does not oppose the

motion. Id. ¶ 4.

      Having considered the grounds for the motion, the Court, pursuant to 18 U.S.C. §

3161(h)(7)(A), finds the ends of justice served by granting this continuance outweigh the

best interests of the public and the defendants to a speedy trial. Accordingly, the

motion (Doc. 52) is GRANTED. The case is continued from the April term until the

Court’s next trial term presently scheduled for July 21, 2025. The corresponding delay

shall be deemed excludable pursuant to the provisions of the Speedy Trial Act, 18

U.S.C. §§ 3161 et seq.

      SO ORDERED, this 31st day of March, 2025.

                                                  S/ Marc T. Treadwell
                                                  MARC T. TREADWELL, JUDGE
                                                  UNITED STATES DISTRICT COURT
